     Case:14-09530-MCF13 Doc#:55 Filed:08/23/17 Entered:08/23/17 15:04:07    Desc: Main
                                Document Page 1 of 1



 1                        IN THE UNITED STATES BANKRUPTCY COURT FOR
                                 THE DISTRICT OF PUERTO RICO
 2

 3     IN RE:

 4                                             CASE NO. 14-09530 MCF

       HARRY LUIS SANTANA LAMBOY               Chapter 13
 5

 6

 7
       XXX-XX-8251
 8

 9
                                                    FILED & ENTERED ON 8/23/2017
10
                     Debtor(s)
11
                                            ORDER
12

13          Creditor Ocwen Loan Servicing, LLC's is ordered to supplement its response
14    to debtor's objection to claim (docket #54) within 30 days.

15
            SO ORDERED.
16          San Juan, Puerto Rico, this 23 day of August, 2017.
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                                                          Mildred Caban Flores
21                                                       U.S. Bankruptcy Judge

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